            Case 2:11-cr-00108-EFS                    ECF No. 231                filed 01/13/12              PageID.613 Page 1 of 1
O PS 8
(12/04)


                                     UNITED STATES DISTRICT COURT
                                                                          «15041»
                                                                               for
                                                      Eastern District of Washington


 U.S.A. vs.                              Renee Gomez                                           Docket No.               2:11CR00108-003


                                        Petition for Action on Conditions of Pretrial Release

        COMES NOW Curtis G. Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Renee Gomez who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting
in the Court at Spokane, WA, on the 5th day of August 2011, under the following conditions:

Standard Condition No. 28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program, random urinalysis
testing shall be conducted through pretrial services, and shall not exceed (6) times per month. Defendant shall submit to any method of testing
required by the pretrial services office to determine whether the defendant is using a prohibited substance. Such methods shall be used with random
frequency and shall include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
screening or testing. Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of
prohibited substance testing. Full mutual releases shall be executed to permit communication between the Court, pretrial services, and the treatment
vendor. Treatment shall not interfere with the defendant’s court appearances.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                             (If short insert here; if lengthy write on separate sheet and attach.)
Vio lation No . 1: Renee Gom ez is considered in violation of her pretrial supervision in the Eastern District of Wa shington by failing
to rep ort for urine drug testing on January 5 , 201 2.

                                   PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                                  I declare under penalty of perjury that
                                                                                                  the foregoing is true and correct.
                                                                                                  Executed on:        1/13/2012
                                                                                         by       s/Curtis G. Hare
                                                                                                  Curtis G. Hare
                                                                                                  U.S. Probation Officer



 THE COURT ORDERS

 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [X ]      The Issuance of a Summons
 [ ]       Other
                                                                                                     S/ CYNTHIA IMBROGNO
                                                                                                     Signature of Judicial Officer

                                                                                                      1/13/12
                                                                                                     Date
